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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:02-cr-00043-MP-AK

JOSEPH THERON MILES,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 437, Motion for Reconsideration, filed by

Defendant Joseph Miles, which seeks reconsideration of the order denying Defendant’s motion

to reduce his sentence. At sentencing, the Court exercised its discretion and sentenced

Defendant Miles below the Guideline range. Since Defendant’s sentence is still below the range

under the amended Sentencing Guidelines, the Court finds that no further reduction is warranted

at this time. Therefore, Defendant’s motion for reconsideration is denied.



       DONE AND ORDERED this            16th day of June, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
